
10 N.Y.2d 877 (1961)
In the Matter of the Claim of Sam Tripoli, Respondent,
v.
Crucible Steel Company of America et al., Respondents, and Special Fund for Reopened Cases, Appellant. Workmen's Compensation Board, Respondent.
Court of Appeals of the State of New York.
Argued October 10, 1961.
Decided October 19, 1961.
George J. Barbero and John M. Cullen for appellant.
S. Chandler Fraser and John F. McDonough for Crucible Steel Company of America and another, respondents.
No appearance for remaining respondents.
Concur: Chief Judge DESMOND and Judges DYE, FROESSEL, VAN VOORHIS, BURKE and FOSTER. Judge FULD dissents and votes to reverse and to reinstate the original decision of the Workmen's Compensation Board (Matter of Norton v. New York State Dept. of Public Works, 1 N Y 2d 844).
Order affirmed, with costs to respondents employer and carrier; no opinion.
